It     Case 3:23-cv-00385 Document 1-8,1 Filed
                                             e on 12/01/23 in TXSD Page 1 of 14
                                                                                             Filed for Record
                                                                                             11/3/2023 11:37 AM
                                                                                             Cassandra C. Tigner, District Clerk
                                                                                             Brazoria County, Texas
                                                                                             116135-CV
                                                                                             Tracy Weeks, Deputy
                                                N0: 116135-CV

     CHRIS WALTHALL, RODNEY                         *        IN THE DISTRICT COURT
     THOMAS AND TAMRA HIPP                          *
                                                    ~
     VS.                                            *        BRAZORIA COUNTY, TEXAS
                                                    ~
     ZIMMERMAN FARMS LLC, BRL4N  *
     ZIMMERMAN AND AARON DECRANE *                           149' JUDICIAL DISTRICT


                               PLAINTTFFS' SECOND AMENDED PJETITION


     TO THE HONORABLE JUDGE OF SAID COURT

             COMES NOW, CI-i(RIS WALTHALL, RODNEY TI-IOMAS AND TAIVIRA HIPP,

     hereinafter- referred to a"s Plairitiffs, by and tlirough their attorney of record, complainirig of

     ZIMMERMAN FARMS, LLC, .BRIAN ZIMMERMAN, AARON DECRANE, NISSAN

     NORTH AMERICA, AND NISSAN MOTOR CO., LTD, hereinafter referred to as Defendants,

     and for cau"se of action would show the Court as follows:

                                                        I.                          a


             P.laintiffs, are at all times hereafter mentioned residents of Brazoria Courity, Texas.

             D.efendant, ZIMMERMAN FARMS LLC is a corporation duly authorized to do business

     in the State of Texas and may be located for service of process through their registered agent,

     Brian Zimmerman, 6117 ,FM 70, Bisliop, Texas 78343-3225. 'Service is not requested at this

     time.

             Deferidant, B.RIAN ZIIVIIVIERMAN, may be located for service of process through their

     registerecl agent, $rian Zimmerrrian; 6117 FM 70, Bishop, Texas 78343-3225. Service. is not

     requested at this time.

             Defendant, AARON DECRANE, was in Brazoria .County at the time of the iricident



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made the basis of this sui.t and still is in Brazoria County. Service is not reduested at this time.

        Defendant, NISSAN MOTOR CO., LTD., is a multinational autotnobile nianufacturer

doing business in the State of Texas and headquartered in Japan.

        Defenclant, NISSAN NORTH AMERICA, INC. is a corporation duly authorized to do

business in the State of Texas and may be located for service of process by serving their

registered agent, Corporation Service Company d/b/a CSC Lawyers Inco., 211 E. 7t'' Street, Suite

620, Austin, Texas 7$701.

                                                  II.

        It has become necessary to bring tliis suit by reason of a collision which occurred on

Nov.ember 7, 2021 in the 1800 block of East Mulberry Street in Angleton, Brazoria County;

Texas. On .that occasion Plaintiffwas driving her vehicle in a normal and prudent rrianner when

suddenly and unexpectedly Plaintiff s'vehicle was struck froin the rear by a vehicle being driven

by Defendant, AARON DECRANE and owned by Brian Zimmennan and/or Zimmerman Farms

LLC.

                                                 III.

                                 FIRST CLAIlVI FOI2. RELIEF
                                 Negligence of Aaron I)eCrane

       Aaron Decrane was in the course and scope of his employment with Brian Zimmerman

and/or Zimmerman Farms LLC at the time of the collision:            As the basis of this suit youi~

Plaintiffs specifically state that the above collision was proximately caused by negligence, as that

term is understood in law, on the part of the Defendant, AARON DECRANE, BRIAN

ZIMMERMAN AND/OR ZIMIVIERIVIAN FARMS LLC.

                                                IV.

       Defendant AARON DECRANE negligently failed to keep a proper look out and timely


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apply his brakes. Since Defendant AARON DECRANE was acting in the course and scope of

his einployment, service or agency with Defendants .ZIMNIERMAN FARMS LLC and BRIAN

ZIIVIlVIE.RMAN .are. .liable for the negligence of AARON DECRANE pursuant to respondeat

superior. Furthermore, and/or in the alternative, Defendants ZIMMERMA.N FARMS LLC and

BRIAl
   AN ZIMMERMAN'S negligence in their hiring; retention supervision and/or training of

Defendant AARON DEC.RANE caused the crash iiivolved in this litigation. Furthermore, and/or

in the alternative, ZIMMERMAN FARMS LLC arid BRIAN ZIMMERMAN negligently

entrusted their vehicle to AARON DEC.RANE.

                                                   V.

                               SECOND CLAIIVI FOR RELIEF
                     IVegligence and Design Defect.as to Nissani Defendants

        At all times relevant herein, Defendant, Nissan is and was a California corporation

headquartered in Franklin, Tennessee, with its principal place of business at One Nissan Way,

Frariklin, Tennessee, 37067. Defendant, Nissan NA is a subsidiary of and works in conjunction

with Nissan and also manufactures and sells vehicles in the Uriited States, Canada and Mexico

including the subject vehicle at issue in-this petition.

       Upon information and belief, the Nissan Defendants are directly responsible for -the

Plaintiffs' injuries and damages, which were caused by the defective condition of the occupan₹

protection system in tlie 2017 Nissan Versa she was op.erating on November 7, 2p21. resultir►g in

her injuries, death and the damages sought herein.

       Nissan Defendants are subject to the jurisdiction of this Court pursuant to Texas's long-

arm statute as eiiumerated under Texas Civ. Prac. &. Rem., Code, § 17.042 because it operates;

conducts, engages in; or carries on a business or business venture in the State of Texas; has an

office or agency in the state of Texas; caused injury to persoris or property residing within the

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state of Texas arising out of an act or omission it corrimitted outside the state; manufactures,

processes, or services products or materials that are used in the state of Texas in the ordinary

course of commerce; trade, or use; or engages in snbstantial and not isolate activity within the

state of Texas.

          Nissan Defendants are subject to the jurisdiction of this Court pursuant to Texas's long-

arm statute as enumerated under Texas Civ. Prac. & Rein. Code § 17.042 because it operatos,

conducts, engages in, or carries on a business or business venture in the State of Texas; has an

office or agency in the state of Texas; caused injury to persons or property residing within the

state of Texa"s. arising out of an act or omission it committed outside the state; manufactures,

processes, or services products or materials that are used in the state of Texas in the ordinaiy

course of commerce, trade, or use; or engages in substantial and not isolate activity within the

state of Texas.

          The Nissan Defendants have purposefully availed themselves of the privilege of

conducting business in Texas.

          The Nissan Defendants have purposefully developed a dealership network for the

distribution of their, vehicles into Texas by entering into contractual relatioiiships with more than

sixty (60) dealers of new Nissan vehicles in Texas.

          This case arises out of or relates to the use of one such Nissan vehicle sold to Carolyn

Thomas from a Nissan dealership in Brazoria, Texas.

          Upon information and belief, .Deferidants are directly responsible for Carolyn Thomas'

injur'ies, death and damages caused by the inadequate occupant protection system

          Plaintiffs adopt and re-allege each prior paragraph, where relevant, as if set forth fiilIy

herein.



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          At all times relevant herein, the Nissan Defendants designed, selected, inspected, tested,

assembled, equipped, marketed, distributed, and sold the subject vehicle and its components.

         At all times relevant herein, the Nissan Defendants designed the subject vehicle and its

occupant protection system, aiid owed Plaintiffs a duty of reasonable care to design, select,

inspect, test, assemble, equip, market, distribute; and sell the subject vehicle and its components,

so tliat it would provide a reasonable degree of occupant protection and safety, during foreseeable

collisions occurring in the real world higliway environment of its expected use.

         At all times relevant herein; as designed, selected, inspected, tested, assembled; equipped,

marketed, distributed, and sold by the Nissan Defeiidants, the subject ve.hicle is and was

uncrashworthy, defective, unreasonably dangerous, and unsafe for foreseeable users and

occupants because its rear end collision occupant protection systezn is and was iriadequately

designed and constructed, and. failed to provide the degree of occupant protection, and safety a

reasonable consumer would expect in foreseeable accidents occurring in the real work

environments of its expected use.

         At all times relevant herein, Nissan Defendants, are collectively and respectively

negligent and careless in the design of the subject veliicle and breached the'ir duties of care owed

to I'laintifts.

         As a direct and proxiniate result of the Nissan Defendants' negligence and the breaches

complained of lierein; Carolyn Thomas suffered fatal injuries.

         WHEREFORE, Plaintiffs demand judgment against Defendants Nissan Motor and Nissan

NA, jointly and severally, for all actual and compensatory damages Plaintiffs suffered, as well .as

for punitive damages in an amount sufficient to keep stich wrongful conduct from being




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 repeated, together with interest, for alI costs of this action, and for any other such further relief as

this Honorable Court and/or jury niay deern just and proper.



                                                   VI.

                                ` TI>1.IRD -CLAIIVI F®R R ELIEF
                  (Negligence and Mandfacturing Defect as to Nissan Defendants)

           Plaintiffs adopt and re-allege each prior paragraph, where relevant, as if set for the fully

lrerein.

           At all times relevant herein, the Nissan Defendants took part in and/or were responsible

for the manufacturer, selection, inspection, testing, design, assemblage, equipment, marketing,

distribution, and/or sale of the subject vehicle and its component parts, including but not limited

to its defective passenger rear end collision protection system, at some point prior to the incident

on Novernber 7, 2021.

           At all times relevant herein, the Nissan Defendants manufactured the subject vehicle and

its occupatit protection system, and the Nissan Defendants owed Plaintiffs a.duty of reasonable

care to manufacture, select, 3n'spec,t, test, asserrible, equip, market, distribute and sell the subject

vehicle and its compoiients, including the passenger rear end collision occupant protection

system, so 'tliat- it would provide a reasonable degree of occupant protection and safety during

foreseeable collisions occurring in the real world highway environment of its expected use.

       At 411 times relevant hereiri, as manufactured, selected, inspected, tested, assembled,

equipped, marketed, distributed, and sold by the Nissan Defendants the subject vehicle is and

was uncrashworthy, defective, unreasonably dangerous and urisafe for foreseeable. users and

occupants because its rear end collision occupant protection system is and was inadequately

d'esigned and constructed, and failed to provide th'e degree of occupant protectioii and safety a


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 reasonable _constuner would expect in foreseeable accidents occurring in the real world

 enviroiunent of its expected use.

          At all times relevant herein, Defendant Nissan NA was collectively and respectfully

negligent, and careless, and breached their duties of care owed to Plairitiffs.

          As a direct and proximate result of the Nissan Defendant's negligence, and the breaches

complained ofherein, Carolyn Thomas sustained fatal injuries from'the Incident on November 7,

2021.

          By reason of the foregoing; Piaintiffs are entitled to recovery for all general and special

damages they sustained as a direct and proxiniate result of the Nissaii Defendants' negligent acts

or omissions.

          WI-IEREFORE, Plaintiffs demand judgment against Defendant, Nissan NA, for all actual

and compensatory damages they suffered, as well as for punitive damages in an amount

sufficient to keep such wrongful conduct from being repeated, together with interest, for all costs

of this action; and for any other such further relief as this Honorable Court and/or ji,uy may deem

just and.proper.



                                  FOURTH CLALM FOR RELIEF
                             (lFailure to Warn as to Nissan Defendants)

          Plaintiffs adopt and re-allege each prior paragraph, where. relevant, as if set foi'th fully

herein.

          At all times relevant herein, the Nissan Defendants, as manufacturer of Subject Vehicle

and it's rear-end collision occupant protection system, owed duties to warn of foreseeable

dangerous, conditions of the Subject Vehicle which would impair its safety.




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          At all times relevant lierein, the Nissan Defendants knew or should have known that the

 Subject Vehicle's rear-end collision occupant protection system was iriadequate.

          At all times relevant herein, the Nissan Defendants had no reason to believe that users

would,realize this potential danger.

          At all times relevant herein, the Nissan -Defendants affirmatively failed to exercise

reasonable care to inform users of the Subjeet Vehicle's dangerous condition created by the

inadequate occupant protection system.

          As a direct and proximate result of tlie Nissan Defendants failure to warn of the dangers

posed by rear.-end collisions in the Subject Vehicle and the breaches complained hereiii, CaroIyn

Thomas suffered fatal injuries from the incident. on Noveniber 7, 2021.

          By reason of the foregoing, Plaintiffs are entitled to recover for all general and special

damages they sustained as a direct and proxirnate result of the Nissan Defendants negligent and

grossly negligent acts or omissions.

          WHEIZEFOREa Plaintiffs demand judgment against Defendants Nissan Motor, and

Nissan NA, jointly atid severally, for:all actual and compensatory damages they suffered, as well

as for punitive damages in an amount sufficient to keep such wrongful conduct from being

repeated, together with interest, for all costs oPthis action, and,for any other such fiuther relief as

this Honorable Court and/or jury rnay deem just and proper.

                                                 VIII.

                                   FIF'Y']U CLAIIVI FOR RELIEF
                         (Strict 1Liability in T'ort as to Nissan l)efendantsj

          Plaintiffs adopt and re-allege each prior paragra}ih, where relevant, as if set forth fully

herein.




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        At all times relevant herein, the Nissan Defe.ndant5 are st7rictly liab.le for designing,

testing, manufacturing, distributing, selling, and/or placirig a defective and unreasonably

dangerous product into the stream of commerce.

        At. ;all times relevant herein, the Subject Veliicle and it's rear-end collision occupant

protection system was unreasonably dangerous as to its design; manufacture;- distribution and

warnings, causing the Vehicle to be in a defective condition that made it un"reasonably dangerous

for its intended.use.

        At all times relevant herein, the Nissan Defendants took some part in tlie manufacture

and sale of the Subject Vehicle and its occupant protection systerim at some time prior to the

Incident on November 7, 2021.

        At all. times relevant, the Sttbject Vehicle was being used in an intended and/or

foreseeable inanner when the Incident alleged herein occurred. Carolyn.Thomas neither misused

nor materially altered the Subject Vehicle, and upon information and belief, the Subject Vehicle

was in the same or substantially sitnilar condition that it was in at the time of purchase.

        At all times relevant her-ein, the Subject Vehicle is and was unreasonably dangerous and

defective because it was designed, manufactured and sold with an eXcessively inadequate 'rear-

end collision occupant protection systenn.

       At all times televant herein, the Nissan Defendants were aware of feasible alternative

designs which would have minirriized or eliminated the risk of injury posed by the Veliicle and

its occupant protectiori sys"tem.

       At all times relevant herein, the Nissan Defendants failed to design, test, manufacture,

inspect, and/or sell a product that was safe for its iutended use.




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          As a direct and proximate result of the Nissan Defendants' negligence and the breachcs

complained herein, Carolyn Thomas suffered fatal injuries on Noverriber 7, 2021.

          WHEREFORE, Plaintiffs demand judgment against Nissan Motor and Nissan NA, jointly

and severally, for all actual and compensatoiy dainages they .suffered, as well as for punitive

damages in an amount sufficient to keep such wrongfiil conduct from being repeated, together

with iriterest, for all costs of this action, and for ariy other such further relief as this Horiorable

Court and/or jury may deem just and proper.

                                                    IX.

                                  51CXTFd CLAIlVI FOit 12ELIEI+
                          (Breach of Warranties as to Nissan Defentflants)

          Plaintiffs adopt and re-allege each prior paragraph, where relevant, as if set, forth fully

herein.

          At all times relevant herein, the Nissaii Defendants are and were "merc.harits with respect

to the Subject Vehicle at issue in this Petition.

          At all times relevant herein, the Nissan Defendants manufactured and sold the 5libject

Vehicle as "good" withiii the meanirig of the relevant statutory provisions.

          Consequently, at the time of sale the Nissan Defendants impliedly warranted that the

Subject Vehiele was merchantable, including that it was fit for its ordinary purpose of a safe

passenger vehicle that it could pass. without objection in the trade, arid that it was adequately

contained, packaged and. labeled.

          At all times relevant herein, the Nissan Defendants breached the implied warranty of

inercharitability because the Subject Vehiole was riot fit for the'o"rdinary purpose for which it was

ariticipated to be used - namely as a'safe passenger motor vehicle.




                                                                                                    LEI
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         Specifically, the Subject Vehicle's rear-end collision occupant protection system was

unreasonably dangerous and defective as it was designed, riiariufactured and sold foreseeable

collisions, ,including during the Incident on November 7, 2021 which made the Subject Vehicle

unfit for its ordinary purpose of providing safe transportation.

        As a proximate result of the Nissan -Defendants" collective and respective breaches of the

implied warranty of inerchantability Carolyn Thomas suffered fatal injuries on November 7,

2021.

        By reason of the foregoing, Plaintiffs are entitled to recover for all general and special

damages proxirnately caused by the Nissan Defeiidaiits' breaches of the iliiplied warranty of

merchantability arising and resulting from the Incident on November 7, 2021.

                                                 X.

        The aforementioned acts and/or oriiissions of the Nissan Defendants were a direct,

proximate and/or producing cause of the wrongful death of Carolyn Thomas and the following

damages to Plaintiffs:

l.      Pecuniary damages in the past and which in reasonable probability they will sustain in the
        fiiture;

2.      Loss. of companionship and so.ciety in the past and which in reasonable probability they
        will sustain in the future; and

3.:     1Vlerital anguish in the past and which in reas,onable probability they will sustain in the
        future; and

        Because of all of the above your Plauitiffs have been damaged in a surn within the

jurisdictional limits of this Court; for which, for which amount. they here now pray judgment

against the Defendarits jointly and severally.

        WHEREFORE PREMISES CONSIDERED, Plaintiffs respectfully pray that upon a final

hearing of the cause; judgment be entered for the Plaintiffs against Defendants, jointly and


                                                                                                11.
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severally, for damages in an amount within the jurisdictional limits of the Court; excluding

interest; and as allowed by 5ec. 41.008, Chapter 41, Texas Civil Practice and Remedies Code,

together with pre judginerit interest (from the date of injury through the date of judgment) at the

rnaximum rate allowed by law; post judgmerit iiiterest at the legal rate, costs of court; and such

-other and fizrther xelief -to which the Plaiiitiffs inay be entitled at law or in equity: Plaintiffs

believe iri the right of the jury to freely consider any amount of damages warranted by the

evidenee, and trust the jury to reach a fair decision; however to comply with Texas Rule 47

                . to plead a category of monetary relief sought the Plaintiffs state that as of the
requiring a party

filing of this Petition, Plaintiffs seek monetary relief greater than $250,000.

                                               Respectfully submitted,


                                               /s/ ChrisBopher B'radshaw-Hull

                                              CHRISTOPHER BRADSHAW-HULL
                                              State Bar No. 02841300
                                              4200 Montrose Blvd., Suite 570
                                              Houston, Texas 77006
                                              713-523-0818
                                              713-523-0814-facsimile
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                                              ATTORNEYFOR PLAINTIFFS




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Christopher Bradshawhull on behalf of Christopher Bradshawhull
Bar' No. 02841300
c bradshawhull@hotmail.com
Envelope- ID:- 81280970                  -              -                               -
Filing Code Description: Petition
Filing Description: Plaintiffs' Second Amended Petition
Status as of 11/3/2023 1:46 PM CST

Case Contacts

Name                        BarNumber   Email                        TimestampSubmitted      Status

Christopher ABradshawhull               c—bradshawhull@hotmall.com   11/3/2023 11:37:45 AM   SENT

Jeannie Douglas                         jamm669@aol.com              11/3/2023 11:37:45 AM   SENT
               Case 3:23-cv-00385 Document 1-8 Filed on 12/01/23 in TXSD Page 14 of 14
Cassandra Tigner, District Clerk
Brazoria County
111 E. Locust St., Ste. 500
Angleton, TX 77515-4678
                                            9414 7266 9904 2215 1390 37




                                    Nissan North America, Inc.
                                    Corporation Service Company d/b/a CSC-
                                    Lawyers INCO
                                    211 E. 7th Street, Suite 620
                                    Austin, Texas78701




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